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                        UNITED STATES COURT OF APPEALS
                             FOR THE THIRD CIRCUIT
                                  ___________

                                       No. 23-1796
                                       ___________

                            UNITED STATES OF AMERICA

                                             v.

          TOYE TUTIS, a/k/a "AHMAD", a/k/a "MAHD", a/k/a "SANTANA",
                                 Appellant
                   ____________________________________

                     On Appeal from the United States District Court
                              for the District of New Jersey
                              (D.C. No. 1:14-cr-00699-001)
                       District Judge: Honorable Renee M. Bumb
                      ____________________________________

                  Submitted on Appellee’s Motion for Summary Action
                   Pursuant to Third Circuit LAR 27.4 and I.O.P. 10.6
                                     on July 6, 2023

             Before: HARDIMAN, RESTREPO, and BIBAS, Circuit Judges
                                ___________

                                       JUDGMENT
                                       ___________

     This cause came to be considered on the record from the United States District Court
 for the District of New Jersey and was submitted pursuant to Third Circuit L.A.R. 27.4 and
 I.O.P. 10.6 on July 6, 2023.

    On consideration whereof, it is now hereby ORDERED and ADJUDGED by this
 Court that the judgment of the District Court entered April 12, 2023, be and the same
 hereby is AFFIRMED. No costs will be taxed. All of the above in accordance with the
 opinion of this Court.
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                                                        ATTEST:

                                                        s/Patricia S. Dodszuweit
 Dated: August 4, 2023                                  Clerk




                          Certified as a true copy and issued in lieu
                          of a formal mandate on August 28, 2023


                         Teste:
                         Clerk, U.S. Court of Appeals for the Third Circuit
